CITY OF RATON

IN THE MAGISTRATE COURT
COLFAX COUNTY Case#: 21-0564
STN: 017210000xxx
CITY OF RATON No.
Vv.
Date Filed:
Howe, Sheldon

Defendant
DOB: 09-02-1982
SSN: XXX-XX-XXXX
ADD: 5 MI East Redrock TP Hwy 5012BIA (PO BOX 4737), Shiprock, NM 87420

STATEMENT OF PROBABLE CAUSE

The above-named defendant(s) has been arrested without a warrant for the following reasons (set forth a plain, concise,
and definitive statement of facts establishing probable cause):

On Sunday June 20", 2021 at about 1036 hours, while on patrol in a marked patrol unit in duty uniform displaying badge of office
in Raton NM, County of Colfax. I Officer James Protsman was dispatched to the 100 Block of North 1“ Street, where the
reporting party (RP), Leroy Valencia, called and reported an unknown male subject just tried to break into Valley View Heating
and Sheet located at 108 South 1* Street, a neighboring business to his. Valencia reported the suspect left on foot traveling
westbound on Park Avenue and was wearing black. Valencia said an unknown neighbor is following the individual in a black
SUV. A second RP, Johnny Cordova, called to report he witnessed the suspect attempt to break into the building and when he
yelled at him to inquire what he was doing the individual took off running. Cordova who was later identified as the individual
driving the black SUV following the suspect said he was walking by the Alderette-Pomeroy Funeral Home, 244 North 1“ Street.

Upon arrival in the 200 Block of North 1* Street, I observed a black SUV in the alley way behind (to the west) of the funeral
home. I observed the driver of the black SUV to point out of his window towards the north. I drove around to the North side of the
funeral home turning westbound onto the 100 Block of Savage Avenue and I observed a middle aged Native American male
walking northbound from the alleyway behind the funeral home. The individual was later identified as Sheldon Howe though
provided officers the name “Shaun Vegay” upon contact, was wearing a black T-shirt, blue jeans, and tan work style boots. Howe
said he did not have any form of identification on him though said his name was “Shaun Vegay” with a date of birth of 09-17-
1984. Howe was unable to provide any other personally identifiable information and Officers, nor Raton Central Dispatch (RCD)
could locate him in the National Crime Information Center (NCIC). Howe said he got dropped off/stranded in the city of Raton
and has been waiting/attempting to get on a bus or train.

I asked Howe if he had any weapons on him and he replied he had pepper spray and a pocketknife. I conducted a simple pat down
“Terry Frisk” of Howe and retrieved a small canister of pepper spray and a small pocketknife. I informed Howe I was
investigating a call for service over concern for an individual trying to break into a business on 1“ Street. J informed Howe he
matched the description of the individual. Howe said he has been staying close to the train/bus station, Raton Station 201 South 1*
Street, and was knocking on the doors of businesses in the area to try and find water. Howe said he continued to walk northbound
towards Ripley Park, 300 North 1* Street (a city park in Raton), in further attempt to find water.

Howe said he just got out of the hospital in the morning (same day of contact) which he got several stiches on his left forearm.
Howe said he cut his arm “hopping a fence.” Howe restated he did not have any form of identification on him though he had a
hospital wrist identification bracelet which he provided to officers. The bracelet showed the name “Shaun Vegey” with date of
birth being 09-17-1984. Howe said he was 34 years of age (YOA) when officers asked and the year 1984 would show he was 36
YOA. I re-inquired with Howe how his name was spelled because he initially provided the spelling “Vegay” though the bracelet
showed “Vegey.” Howe could not/would not provide a clear answer as to why he provided different spelling and ages. I asked
Howe if he knew his social security number which he replied no though said he was from New Mexico. Howe did not have a
phone or wallet on him and said he has never had a job, license, or driven a vehicle saying his mom has always taken care of him.
Howe said this is because he suffers from some mental illness.

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I placed Howe in investigative detention placing handcuffs at his wrists, in front of him, palms together, checked for proper
tightness, and double locks engaged. The handcuffs were placed in front due to the fresh sutures on his left forearm. I asked Howe
if the handcuffs would cause him problems with his injury and he replied he should be good with the handcuffs in front. I placed
Howe in the back right seat of my patrol where the area was checked prior for contraband with negative findings. I asked Howe if
he knew his mother’s phone number so we could get ahold of her and he provided 505-701-7744 as well as her name. I had RCD
attempt to contact a Marilyn Toledo which she did not answer, and RCD left a voice message.

Officers relocated to the 100 Block of South 1* Street where I met with RP/Witness Johnny Cordova and RP Leroy Valencia.
Valencia said Cordova came to him in his place of business to tell him to call the police because he saw Howe trying to break into
the Valley View business. Valencia said Cordova then left to follow Howe. Valencia said he did not see the criminal incident take
place though he knew the business owner and had given him a call to inform of the situation. Valencia said the owner was out of
town and he checked the Valley View business to ensure it was locked/secure and if there was any damage. I will follow up with
Valley View business owner when he is back in town. Cordova said he was in the area running arrands/shopping when he parked
in the 100 Block of South 1“ Street. Cordova said once he parked and got out, he observed Howe, in the described clothing,
kicking the door of the Valley View business. Cordova said he yelled at Howe and he took off running which he said is when he
called out to Valencia to call the police then proceeded to follow him until police arrived. Valencia and Cordova said there is a
boot print on the door.

Upon observation of the door, I observed a noticeable boot print on the door. The print was high on the door, towards the center,
between the doorknob and deadbolt. The Valley View business was closed with a visible closed sign in the window. The boot
print on the door had a large block pattern consistent with the work boots Howe was wearing at the time of contact. Digital
photographs were obtained of the door, the boot print, and the business. No damage was noted to the door or the rest of business
and everything was locked and secure. I placed Howe under arrest at 1113 hours and transported Howe to Vigil Maldonado
Detention Center (VMDC) where I transferred custody of Howe to VMDC staff without incident. Howe was booked into VMDC
for Attempt to Commit a Felony to wit: Breaking and Entering. At VMDC I obtained digital photographs of Howe’s boots and
soles to be attached to this case file.

At 1421 hours Toledo called the Raton Police Department, after officers attempted to contact several more times with voice
messages left. I confirmed with Toledo that she did have a son and confirmed his appearance and identity with her. Toledo’s
descriptors of Howe matched with the Howe officers arrested. Toledo provided Howes real name and date of birth which I was
able to get a return through the NCIC confirming via picture and demographics “Vegey” was Howe. Toledo said Howe was on
Parole and had been missing for several days out of Colorado. Howe was not entered into NCIC as missing. I made contact
Howe’s Parole officer via contact provided in NCIC to advise of situation.

At approximately 1600 hours I responded back to VMDC where I Provided an updated booking form with Howes proper
demographics and the charge of Concealing Identity. All proper forms/bookings/paperwork was filled/signed/distributed/filed
accordingly. Copies of said paperwork also provided to Howe’s parole officer to seek an arrest warrant/order.

1 DO SOLEMNLY DECLARE AND AFFIRM UNDER PERJURY THAT THE MATTERS AND FACTS SET
FORTH IN THIS STATEMENT ARE TRUE TO THE BEST OF MY KNOWLEDGE, INFORMATION AND
BELIEF.

ius tlt LY73

James Protsman 1443
Arresting Officer

June 20", 2021

This form is to be used if the defendant was arrested without a warrant and the complaint or citation and any attachments to the complaint do

not make a written showing of probable cause.

Distribution Instructions:
Original — Court Copy — Defendant Copy — Plaintiff
Criminal Form 9-215

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